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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION


BONNIE HERNANDEZ,

       Plaintiff,

vs.                                             Case No. 4:23cv319-MW-MAF

UNITED STATES OF AMERICA,

     Defendant.
___________________________/


                                  ORDER

       Plaintiff, represented by counsel, filed a complaint on July 24, 2023.

ECF No. 1. The complaint presents a negligence claim pursuant to the

Federal Tort Claims Act. A summons was returned executed on August 1,

2023, ECF No. 6, indicating that an answer is due on or before September

25, 2023.

       Chief United States District Judge Mark E. Walker has entered an

Order referring this case to the undersigned pursuant to Local Rule

72.2(C). ECF No. 5. Notwithstanding, an Initial Scheduling Order was

entered by Judge Walker on August 2, 2023. ECF No. 7.
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      The practice of the undersigned is to await entry of an Initial

Scheduling Order until after the filing of an answer or resolution of a motion

to dismiss. That is especially true in this case as it may not be possible for

counsel to confer within 30 days as directed, see ECF No. 7 at 3, since a

notice of appearance of counsel has not yet been filed for the Government.

In light there of, the parties need not comply with the Initial Scheduling

Order and may await entry of a subsequent Order by the undersigned.

      In addition, Plaintiff’s complaint has been reviewed to ensure that

jurisdiction exists. That review does not reveal any mention of when and

how Plaintiff exhausted administrative remedies.

      The Federal Tort Claims Act (FTCA) “bars claimants from bringing

suit in federal court until they have exhausted their administrative

remedies.” McNeil v. United States, 508 U.S. 106, 113, 113 S. Ct. 1980,

1984, 124 L. Ed. 2d 21 (1993). The administrative exhaustion requirement

is jurisdictional; thus, a “federal court may not exercise jurisdiction over a

suit under the FTCA unless” the Plaintiff has exhausted administrative

remedies. Suarez v. United States, 22 F.3d 1064, 1065 (11th Cir. 1994)

(citing 28 U.S.C. § 2675(a)). Notably, the Bureau of Prisons “has

promulgated regulations describing how prisoners should file administrative

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FTCA claims against the BOP.” Douglas v. United States, 814 F.3d 1268,

1279 (11th Cir. 2016) (citing 28 C.F.R. § 543.30).

      “Federal courts have an independent obligation to ensure that

subject-matter jurisdiction exists before reaching the merits of a dispute.”

Jacobson v. Fla. Sec’y of State, 974 F.3d 1236, 1245 (11th Cir. 2020).

This obligation cannot be taken lightly. Therefore, Plaintiff must file a

response to this Order which demonstrates that administrative remedies

were exhausted prior to filing this lawsuit. Plaintiff’s response is due on or

before August 23, 2023. The failure to “allege facts sufficient to show that

[Plaintiff] exhausted administrative remedies—a jurisdictional prerequisite

to his suit under the FTCA—” will result in dismissal of the complaint.

Pompey v. Coad, 314 F. App’x 176, 179 (11th Cir. 2008).

      Accordingly, it is

      ORDERED:

      1. The parties need not comply with the Initial Scheduling Order

[“ISO”], ECF No. 7, entered on August 2, 2023. A subsequent ISO will be

entered at a later date.




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      2. Plaintiff must file a response to this Order no later than August

23, 2023, which demonstrates that Plaintiff exhausted administrative

remedies prior to initiating this lawsuit.

      3. The Clerk of Court shall return this file upon receipt of Plaintiff’s

response to this Order or no later than August 23, 2023.

      DONE AND ORDERED on August 3, 2023.



                                    S/ Martin A. Fitzpatrick
                                    MARTIN A. FITZPATRICK
                                    UNITED STATES MAGISTRATE JUDGE




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